
BERZON, Circuit Judge,
concurring in the judgment:
I agree with the result reached by both of my colleagues. But I have a fundamental disagreement with both of them regarding the reach of the Freedom of Information Act (FOIA) fees provision, and so concur only in the judgment.1
Contrary to Judge Block’s position, the text of the fees provision, 5 U.S.C. § 552(a)(4)(E), plainly does not require a causal nexus between the litigation and the agency’s disclosure. It is inappropriate and impermissible to read one in, even though other courts have done so.
Judge Block represents that a majority of the panel holds that a FOIA plaintiff “ha[s] to” present evidence that the litigation had a “substantial causative effect” on the disclosure to be eligible for fees absent a judgment in her favor. Lead Op. at 1128 (internal citations omitted); see also id. (reading other circuits’ law to affirm “the need to establish causation” between the litigation and a voluntary agency disclosure for a plaintiff to be eligible for fees) (emphasis added).2 Judge Murguia says that she concurs in this part of the lead opinion. Concurring Op. at 1189. But the alternative theory of fee eligibility pro*1131pounded in Judge Murguia’s concurrence—which, as I shall explain, is as textually insupportable as the causal nexus requirement— necessitates neither a final judgment in favor of the plaintiff nor a showing of causation. Because Judge Murguia and I, although for different reasons, would hold that even absent a judgment, causation is not always a necessary condition of fee eligibility for FOIA complainants, there is in fact no majority for the holding that causation has to be demonstrated.
I
Our inquiry begins with the statute. If the text is clear, as it is here, it ends there as well. United States v. Ron Pair Enters., Inc., 489 U.S. 235, 241, 109 S.Ct. 1026, 103 L.Ed.2d 290 (1989).
A FOIA complainant is eligible for attorney fees if she has “substantially prevailed.” 5 U.S.C. § 552(a)(4)(E)(i). A person has “substantially prevailed” if she “has obtained relief through either—(I) a judicial order ... or (II) a voluntary or unilateral change in position by the agency, if the complainant’s claim is not insubstantial.” Id. § 552(a)(4)(E)(ii). We are concerned with subsection (II).
Parsing that subsection, it has three elements. First, the complainant must have “obtained relief’; in this context, the re-questor must have received from the agency some of the information she was suing for. Second, the relief must have been obtained through “a voluntary or unilateral change” in the agency’s position. This element contemplates the willing disclosure of information to the complainant by an agency, in contrast to one brought about by “judicial order” or “enforceable written agreement or consent decree,” as envisioned in subsection (I). Lastly, the claim must be “not insubstantial.” Id. No more, no less. Conspicuously absent from Congress’s definition of a “substantially prevailing” complainant is the existence of a “causal nexus between the litigation' and the voluntary disclosure or change in position by the Government.” Lead Op. at 1128.
Nor does the text of the applicable provision offer any language that could include a hidden causation requirement.
First, to “obtain relief’ from an agency simply means to receive the information a requestor is seeking, whether that be documents, a Vaughn index, or a response acknowledging the existence of relevant documents. The fact of relief does not relate to the impetus behind the agency’s action.
The next element of the provision—“a voluntary or unilateral change in position by the agency”—if anything cuts against a reading that requires a “substantially prevailing” complainant to demonstrate causation. “Voluntary” may mean “done without any present legal obligation” to do so, but in another sense it means “not constrained, impelled, or influenced by another.” Webster’s Third New Int’l Dictionary 2499 (1971) (emphasis added). A “unilateral” disclosure is one “done, made, undertaken, or shared by one of two or more persons or parties,” id. at 2564, which includes actions taken by one party independently of the other. These words, standing alone, indicate independent action not caused by the complainant’s litigation.
The last stone to turn over—the “not insubstantial” element—yields no implicit causal nexus requirement, either. Whether a claim is “substantial,” or “not insubstantial,” 3 bears on whether the claim has or *1132may havé merit. That the claim could have merit may well explain why the agency turned over the requested information after the lawsuit was filed. So the substan-tiality of the claim may serve as a proxy or substitute for causation (a notion borne out by the legislative history, discussed later). But it is not itself a causation requirement; substantiality is a different inquiry from motive or causation.
Those three elements are all a FOIA complainant needs to “substantially prevail]” and thus be eligible for attorney fees,4 This provision obviously embraces cases in which a requestor could demonstrate that the lawsuit did spur an agency’s hand-over of documents before the case matures to judgment, but it extends equally to instances in which the agency decides to release the document for other. reasons.
In short, Congress spelled out in detail the meaning of “substantially prevailed,” but did not include any causation or motive requirement. We are not free to .interpose one. “There is a basic difference between filling a gap left by Congress’ silence and rewriting rules that . Congress has affirmatively and specifically enacted.” Lamie v. U.S. Trustee, 540 U.S. 526, 538, 124 S.Ct. 1023, 157 L.Ed.2d 1024 (2004) (internal quotation marks and citations omitted). We may not read into this, quite specific statute something that is not there. See, e.g., United States v. Ressam, 553 U.S. 272, 273, 128 S.Ct. 1858, 170 L.Ed.2d 640 (2008) (holding that a plain reading of “carrying an explosive ‘during the commission of ” a felony foreclosed a relational requirement between the felony, and the .explosives).
II
The lead opinion does not (and could not) locate the causal nexus requirement in the amended statutory text. Instead, it finds the .causation requirement in (cases pre-dating both Buckhannon Board &amp; Care Home, Inc. v. West Virginia Department of Health &amp; Human Resources, 532 U.S. 598, 121 S.Ct. 1835, 149 L.Ed.2d 855 (2001), and the statutory amendments to FOIA. See Lead Op. at 1128-29 (citing Church of Scientology v. U.S. Postal Serv., 700 F.2d 486, 489, 491-92 (9th Cir. 1983)).
As the lead opinion notes, Lead Op. at 1127, Buckhannon was understood by this Court to foreclose attorney fees under the “catalyst theory” that had.been embraced by most courts of appeals. See Or. Nat. Desert Ass’n, 572 F.3d at 616 (agreeing with two other circuits that Buckhannon applied to FOIA). Oregon Natural Desert Association also recognized that the 2007 FOIA amendments legislatively overruled Buckhannon with respect to attorney fees under FOIA.5 Id. at 617.
Where I part ways with the lead opinion is in interpreting precisely what the statutory amendments did—specifically, how they overruled Buckhannon. The lead opinion represents that the amendments *1133“simply reinstated the pre-Buckhannon catalyst theory of recovery,” Lead Op. at 1128, including the requirement of a causal nexus. In adopting this characterization, the lead opinion is in good company—as it notes, several other circuits have assumed that the amendments restored the status quo ante. See, e.g., Summers v. U.S. Dep’t of Justice, 569 F.3d 500, 503 (D.C. Cir. 2009) (“Congress amended the FOIA to incorporate the catalyst theory.”); Batton v. IRS, 718 F.3d 522, 525 (5th Cir. 2013) (construing the statutory amendments to “codif[y]” the catalyst theory, including the requirement that the litigation had a “substantive causative effect” on the disclosure); Zarcon, Inc. v. NLRB, 578 F.3d 892, 894 (8th Cir. 2009) (reading the statutory amendments to “definitively establish! ] that the ‘catalyst theory’ ” applies to attorney fees under FOIA). These courts, like the lead opinion, have understood the amendments simply to effect an erasure of Buckhannon as applied to FOIA, reinstating the pre-Buckhannon case law that requires a causal nexus. See, e.g., Conservation Force v. Jewell, 160 F.Supp.3d 194, 202, 205-06 (D.D.C. 2016) (rejecting a FOIA plaintiffs eligibility for fees because “the catalyst analysis is all about causation” and the plaintiff failed to demonstrate a causal link) (citing among others Cox v. U.S. Dep’t of Justice, 601 F.2d 1 (D.C. Cir. 1979)); Lead Op. at 1128 (citing Church of Scientology, 700 F.2d at 489). But none of those opinions did business with the language of the statute, or explained why the courts should add to the statute a requirement that is simply not in the text.
Notably, the causation requirement often led, as it does here, to complicated, fact-bound determinations. See Weisberg v. U.S. Dep’t of Justice, 745 F.2d 1476, 1496 (D.C. Cir. 1984) (explaining that the causation analysis required consideration of whether the agency “made a good faith effort to search out material and to pass on whether it should be disclosed” as well as inquiry into the number of requests pending before-the agency and how time-consuming the search process could be) (internal quotation marks and citations omitted); Church of Scientology, 700 F.2d at 492 (instructing the district court to determine on remand “what actually triggered the documents’ release” to the plaintiff) (emphasis added). Congress, surely could have reinstated the body of pre-Buckhannon case law, with its fact-intensive inquiry into causation, by adopting language similar to that used in that case law. For example, it could have borrowed Judge Friendly’s formulation that “a plaintiff must show at minimum that the prosecution of the action could reasonably have been regarded as necessary and that the action had substantial causative effect on the delivery of the information.” Vt. Low Income Advocacy Council, Inc. v. Usery, 546 F.2d 509, 513 (2d Cir. 1976), abrogated by Union of Needletrades, Indus. &amp; Textile Emps. v. INS, 336 F.3d 200 (2d Cir. 2003); see also *Church of Scientology, 700 F.2d at 489 (using the language from Us-ery); Lovell v. Alderete, 630 F.2d 428, 432 (5th Cir. 1980) (same).
But Congress did not do that. Instead, Congress opted explicitly to define “substantially prevailing]” when it amended the statute,6 and to do so differently than the' pre-Búckhannon cases had. See 5 U.S.C. § 552(a)(4)(E)(ii).
Ill
The lead opinion, and the decided cases reading the new statute to incorporate *1134pre-Buckhannon law on the catalyst theory, make two points: (1) legislative history indicates that Congress meant to overrule Buckhannon and restore the status quo ante for FOIA suits;7 and (2) a reading of the statute in which complainants can “substantially prevail[]” without in any way causing the disclosure is implausible.
Where the statutory text is clear, it should not be defeated by legislative history unless the plain meaning threatens entirely to frustrate Congress’s intentions in enacting the statute. See, e.g., King v. Burwell, — U.S.—, 135 S.Ct. 2480, 2495-96, 192 L.Ed.2d 483 (2015) (adopting a reading of the Affordable Care Act in line with Congress’s aim to “improve health insurance markets, not to destroy them”). Legislative history can, however, sometimes throw new light on statutory language that may seem straightforward but that takes on a different coloration in light of a specialized context or linguistic understandings, demonstrated by “how the legislators considering the bill were speaking about the statute” at the time of enactment. James v. City of Costa Mesa, 700 F.3d 394, 409 n.2 (9th Cir. 2012) (Berzon, J., concurring in part and dissenting in part). It can also clarify ambiguities created by “the evolution of language over time, a not-infrequent source of error in interpreting statutes of long-standing vintage.” United States v. Kimsey, 668 F.3d 691, 699 (9th Cir. 2012); see also Spencer v. World Vision, Inc., 633 F.3d 723, 752-55 (9th Cir. 2011) (Berzon, J., dissenting) (interpreting “religious corporation” as a term of art in light of old common-law usage and statutory history).
Examining the legislative history in this instance is useful to confirm that there is no nonobvious reading of the statutory language compelled, or even supported, by that history. To the contrary, the history affirmatively indicates a purposeful decision to avoid the factually difficult causation question.
The lead opinion is correct that the amendments appear to have been motivated by concern about the effect of Buck-hannon on fees in FOIA cases.8 The so-called “Buckhannon fix” was drafted to “clarif[y] that Buckhannon’s holding does not and should not apply to FOIA litigation.” S. Rep. No. 110-59, at 6 (2007). But that explanation does not include an account of what standard should apply instead of “Buckhannon’s holding” and so in no way indicates that the straightforward language of Congress does not mean what it says.
Moreover, the drafting history of the amended statute supports my view that § 552(a)(4)(E)(ii)(II) has no causation requirement. Earlier versions of the bill defined a complainant as “substantially prevailing” if she obtained relief through a judicial order or
if the complainant’s pursuit of a nonfriv-olous claim or defense has been a catar lyst for a voluntary or unilateral change in position by the opposing party that provides a substantial part of the requested relief.
*1135OPEN Government Act of 2005, S. 394, 109th Cong. § 4 (2005) (emphasis added); see also H.R. 867, 109th Cong. § 4 (2005) (same language). But the next round of bills dropped the “catalyst” element, instead requiring only that a complainant obtain relief through “a voluntary or unilateral change in position by the opposing party, where the complaintant’s [sic] claim or defense was not frivolous.” S. 849,110th Cong. § 4 (2007); see also H.R. 1309,110th Cong. § 4 (2007) (same except “in a ease in which” instead of “where”). In response to a few members’ concerns, “not frivolous” became “not insubstantial,” the language that was ultimately included in the statute as enacted.
The remarks by drafters of the final bill directly confirm that the decision to leave out a causation concept was deliberate. “Floor statements by the sponsors of the legislation are given considerably more weight than floor statements by other members, ... and they are given even more weight where, as here, other legislators did not offer any contrary views.” Kenna v. U.S. Dist. Court for C.D. Cal., 435 F.3d 1011, 1015 (9th Cir. 2006).
Senator Kyi, a proponent of the amendment that became the statutory language, believed the substantiality test was “well-suited” to evaluating fee requests because “courts should be able to apply [it] without further factual inquiry into the nature of a complaint.” 153 Cong. Rec. S10,989 (daily ed. Aug. 3, 2007). By so providing, Senator Kyi reported, the amendment “addresse[d] one of the Supreme Court’s major concerns in the Buckhannon case, that ‘a request for attorney’s fees should not result in a second major litigation.’ ” Id. (citing Buckhannon, 532 U.S. at 609, 121 S.Ct. 1835). Senator Kyi, in other words, explained Congress’s move away from the earlier “catalyst” language as a quest for a more administrable standard—one in which substantiality, and not causation, is the basis of a fee award. And Senator Kyi recognized that his “not insubstantial” amendment was “very generous to FOIA requesters” and “a pretty low standard” made “in the spirit of compromise.” Id.
Another sponsor of the bill, Senator Le-ahy, opined that “a FOIA requester can obtain attorneys’ fees when he or she files a lawsuit to obtain records from the Government and the Government releases those records before the court orders them to do so.” 153 Cong. Rec. S15,704 (daily ed. Dec. 14, 2007). Senator Leahy’s careful explanation of the new fees provision in his own bill captures the mechanics of the provision, which—as his statement reveals—has no causation requirement.
One line in the Senate report accompanying S. 894 did say that the bill “clarifies] that a complainant has substantially prevailed ... if the pursuit of a claim was the catalyst for the voluntary or unilateral change in position by the opposing party.” S. Rep. No. 110-59, at 6 (2007) (emphasis added). But, as I have noted, the statutory language does not use the term “catalyst,” or “causation,” or “because of,” or anything similar, in defining “substantially prevailed.” To substitute one phrase in one line in a committee report for the statute’s actual definition is to commit the precise sin which has led to the near-complete demise—in my view unfortunate—of legislative history in interpreting statutes: Congress as a whole voted on the statute as written, and should not be taken as instead adopting arguably contrary language in a committee report absent extremely good reason. See King, 135 S.Ct. at 2492-96 (relying on “context and structure” to reject the natural reading of a word because of the “calamitous result[s]” that would otherwise ensue). Here, there is no such reason.
Clearly, Congress could have chosen to—and initially did—draft a provision codifying the pre-Buckhannon catalyst theo*1136ry, by using the very word “catalyst,” which courts had construed for decades to include a causation requirement. But it ultimately chose not to do that. The statute enacted by Congress and signed by the president did not reinstate the pre-Rwcfc-hannon definition of “substantially prevailing,” but instead devised a new one. “[Cjourts must presume that a legislature says in a statute what it means and means in a statute what it says there.” Conn. Nat’l. Bank v. Germain, 503 U.S. 249, 253-54, 112 S.Ct. 1146, 117 L.Ed.2d 391 (1992).
IV
We should take no comfort from the fact that other circuits have read into the fees provision a causation requirement, and should not join them in insisting upon this statutory mirage.9 In Guido v. Mount Lemmon Fire District, this Court recently disagreed with four other circuits in holding that the twenty-employee minimum in the Age Discrimination in Employment Act did not apply to political subdivisions. 859 F.3d 1168, 1172-74 (9th Cir. 2017). The other appeals courts relied on parallel legislation and legislative history, notwithstanding the unambiguous words of the directly applicable statute. Id. at 1174-75. Here, as there, the statute is clear; we need not go outside - its text to know that FOIA plaintiffs don’t need to show causation to collect fees.-The consensus of contrary authority should not disincline us from this reading when that consensus, is just wrong. Cf. Desert Palace, Inc. v. Costa, 539 U.S. 90, 101, 123 S.Ct. 2148, 156 L.Ed.2d 84 (2003) (overruling four circuits’ requirement of direct evidence in mixed-motive Title VII cases because they neglected an intervening change in statutory language).
The lead opinion suggests that the fee provision'“cannot plausibly be read” in a way that does not incorporate a causation requirement. Lead Op. at 1120. But the cases it cites for this proposition all predate Buckhannon and the statutory amendments. Id. at' 1120. They are evidence of nothing more than what a pre-Buckhannon plaintiff needed- to show in order to be' “substantially prevailing” under -existing judge-made law on fees for catalyst complainants. To the extent they impose a causal nexus requirement, they have been superseded by statute and have no bearing on whether fees are available to First Amendment Coalition -or any re-questor seeking fees under § ■ 552(a)(4)(E)(ii)(II).
But even taking the lead opinion’s concern on its merits, my reading of the statute is an entirely plausible one. As Senator Kyi’s statement quoted above suggests, Congress probably wanted courts to avoid difficult determinations of causation—as shown by this case—by creating, in.effect, a presumption of causation when agencies unilaterally change position as to a possibly meritorious disclosure request after a lawsuit has been fíled. The pre-Buckhan-non standard required difficult multi-factor inquiries by the district courts to determine whether the lawsuit “actually” caused the disclosure or not. Congress could sensibly want a more administrable test for screening out complainants who ought not to recover attorney fees.
' Additionally, Congress may have wanted to make whole plaintiffs who simply should *1137not have had to resort to litigation to obtain the information they wanted, having necessarily already made an appropriate, “not insubstantial” request for disclosure to the agency, which was denied. See 5 U.S.C. § 562(a)(2)—(3) (providing for disclosure of non-exempt agency documents). The agency’s subsequent release of the information, for whatever reason, could be seen as a likely indication that incurring the litigation expenses should have been unnecessary. That the agency has already passed on a chance (often more than one) to hand over requested information before litigation and so without exposure to fees makes FOIA litigation somewhat unusual, and helps explain why Congress concluded that FOIA plaintiffs should at this stage obtain attorney fees if the agency changes its mind about releasing information only after litigation costs have been incurred.
In short, making FOIA complainants eligible for fees without demonstrating a causal nexus is neither absurd nor “threaten[s] to destroy the entire statutory scheme.” Guido, 859 F.3d at 1174 (citing King, 135 S.Ct. at 2495). Rather, the standard stated quite plainly in the statute is perfectly sensible. It forwards “the philosophy of full agency disclosure” undergird-ing FOIA, by paying the fees of those who make potentially meritorious requests for information to the agency and obtain the requested information only after filing suit.10 Dep’t of Air Force v. Rose, 425 U.S. 352, 360-61, 96 S.Ct. 1592 (quoting S. Rep. No. 813, at 3 (1965)). The lead opinion falls into error by insisting, as have other courts to consider the issue, that the amended statute includes a causation requirement that is just not there.
V
My objection to Judge Murguia’s analysis of fee eligibility is fundamentally the same as my objection to the lead opinion. Her alternative theory of .eligibility is entirely divorced from the words of the statute we must apply to determine if FOIA plaintiffs are eligible for fees.
Under Judge Murguia’s approach, First Amendment Coalition is eligible for fees because it would have prevailed on the merits but for unilateral government action, in this case the failure of the government to disclose to the district court that the White Paper had been • officially released. Concurring Op,, at 1142. Judge Murguia. maintains that her approach is “consistent with FOIA’s text,” Concurring Op. at 1141, but her concurrence fails to engage with the text of 5 U-S.C. § 552(a)(4)(E)(ii)(II) at all.
Again, a plaintiff who does not obtain , a judgment may nonetheless, “substantially prevail,” and thus be eligible for fees, if she has obtained relief through a voluntary or unilateral change in agency position on a “not insubstantial” claim. 5 U.S.C. § 552(a)(4)(E)(ii)(II). Judge Murguia’s approach replaces the words' of the statute with á different substantive standard: the plaintiff is eligible if she is “correct on the merits” (emphasis added), or would have prevailed in the FOIA suit, but for the government’s unilateral action “outside [the plaintiffs] control.”11 Concurring Op. at 1142.
*1138However consistent this approach is with the “purpose” of FOIA, Concurring Op. at 1141, it has no textual warrant in the statute. Whereas the lead opinion just reads an extra element into § 552(a)(4)(E)(ii)(II), Judge Murguia sketches an additional theory of recovery that does not overlap at all with § 552(a)(4)(E)(ii)(II). Where the statute requires only a “not insubstantial” claim, her analysis demands an actually meritorious one. Concurring Op. at 1142. Where the statute requires a voluntary or unilateral change in position by the government agency, this approach calls for “unilateral action” that “prevent[s] [the plaintiff] from prevailing” on its claim. Id. at 12. Whatever the merits of this set of requirements as a policy for punishing bad-faith litigation conduct,12 it is contrary to the text of the statute we must apply when awarding fees to FOIA plaintiffs. The arguments against reading a causal nexus requirement into § 552(a)(4)(E)(ii)(II), discussed in Parts II-IV above, apply with equal, if not more, force to an alternative basis for eligibility that finds support in neither the text of the statute nor once-applicable (but now superseded) circuit law on catalyst recovery.
Finally, I note once again that one result of Judge Murguia’s alternative analysis is that there is no majority holding as to whether, absent judicial relief, a plaintiff must demonstrate a causal nexus between the lawsuit and the disclosure.
VI
Applied to the facts of this case, First Amendment Coalition is a “substantially prevailing” complainant. It obtained relief—the OLC-CIA memo—before judgment through a voluntary change in position by the Department of Justice on a “not insubstantial” claim. See Lead Op. at 1127 n.12 (noting the government’s concession that the claim is not insubstantial). The statute does not require us to, and indeed we may not, “read an absent word” (or provision) into the statute. Lamie, 540 U.S. at 538, 124 S.Ct. 1028.
⅜ &gt;&amp; 5ft ⅜⅜ ⅜
For these reasons, I concur only in the judgment (with one exception noted, see note 1, supra).

. With the exception of footnote 10 of Judge Block’s opinion, which I join.


. I will refer to Judge Block’s opinion for the court as the "lead opinion.”


. “The double negative in the amendment was not my proposal and I accept no responsibility for that grammatical infraction.” 153 *1132Cong. Rec. SI0,989 (daily ed, Aug. 3, 2007) (statement of Sen. Kyi).


. A complainant who is "eligible” for fees is not necessarily "entitled” to them; I am only concerned .here with the effect of the statutory amendments on eligibility for fees. See Or. Nat. Desert Ass'n v. Locke, 572 F.3d 610, 614 (9th Cir. 2009) (“To obtain an award of attorney fees under the FOIA, a plaintiff must demonstrate both eligibility and entitlement to the award.”).


. Oregon Natural Desert Association states that the statutory amendments reinstated the pre-Buckhannon catalyst theory, perhaps implying a causation requirement. 572 F.3d at 614-15. The statement to that effect is dicta, however. The Court decided in that case only that the amended fees provision did not apply retroactively; and therefore did not address the appropriate application of the new provision.


. Before 2007, the terse fees provision in FOIA provided for fees and costs “in any case under this section in which the complainant has substantially prevailed.” § 552(a)(4)(E) (2006). CJ CD O


. See, e.g., Lead Op. at 1127 (quoting floor statement); Or. Nat. Desert Ass'n, 572 F.3d at 616 (same); Brayton v. Office of the U.S. Trade Representative, 641 F.3d 521, 526 (D.C. Cir. 2011) (citing extensively the committee reports and floor statements for the FOIA amendments).


. In particular, the sponsors of the bill worried about the strategic timing of FOIA disclosures by agencies to avoid paying fees. See S. Rep. No. 110-59, at 3-4 (2007) ("[F]ederal agencies have an incentive to delay compliance with FOIA requests until just before a court decision that is favorable to a FOIA requestor.”); 153 Cong. Rec. S15,704 (daily ed. Dec. 14, 2007) (statement of Sen. Leahy) (same).


. Only one court seems to have entertained the notion that the statute, read plainly, does not include a causation requirement. See Sai v. Transp. Sec. Admin., 155 F.Supp.3d 1, 6 n.4 (D.D.C. 2016) (”[U]nder the literal terms of the statute, a plaintiff need only show that the agency has changed its position and that the plaintiff’s claim was ‘not insubstantial.’ ”), Sai then noted the legislative history discussed above, which it believed counseled in favor of such a requirement. Because causation was ■ "likely a non-issue" in that'case, however, it did not discuss the question further. Id.


. As a practical matter, where there is litigation pending and the basis for the release of information is substantial, I suspect instances in which the information is released for reasons entirely independent of the litigation are likely rare. The old catalyst theory, after all, required only a "substantial causative effect,” not that the lawsuit be the sole or determinant cause of disclosure. Cf. ACLU v. U.S. Dep’t of Homeland Sec., 810 F.Supp.2d 267, 274 (D.D.C. 2011) (finding that the litigation "substantially caused” the release of some documents even though others were released in the course of defendant’s administrative response).


. Judge Murguia implies bad faith on the part of the government in this case, a sugges*1138tion on which I take no position. It is not clear if bad faith is required under her theory of eligibility or is merely one instance of action but for which a plaintiff would have recovered.


. There are other measures for dealing with bad-faith litigation tactics, like sanctions, that have the virtue of not altering the substantive law.

